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SEALED

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UNITED STATES DISTRICT COURT _

DISTRICT OF NEVADA-...
UNITED STATES OF AMERICA, Case No. ..¢ oez-annoover : -
Plaintiff, Order to Seal a
“ (Under Seal)
TYLER SAMPSON,
Defendant.

 

 

 

Based on the pending Application of the Government, and good cause appearing
therefore, IT IS HEREBY ORDERED that the Complaint, the Probable Cause Affidavit,
Arrest Warrant, AO257, the Government's Application, and this Court's Sealing Order, in the
above-captioned matter shall be sealed until further Order of the Court.

IT IS FURTHER ORDERED THAT the Clerk’s Office for the United States District
Court for the District of Nevada must release the sealed complaint to the CJA Panel Resource
Attorney, who may use the information in the sealed complaint for the sole purpose of securing
defense counsel in a timely manner.

IT IS FURTHER ORDERED THAT, on the day of the arrest of the first defendant in

this case, the CJA Resource Attorney may provide defense counsel a copy of the sealed

complaint. et
DATED this-77 day of September, 2021.

< * — ;
HONORABLE CAM FERENBACH
UNITED STATES MAGISTRATE JUDGE

 

 
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CHRISTOPHER CHIOU

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UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
UNITED STATES OF AMERICA, Case No. 2:21-MJ-00787-VCF
Plaintiff, Application to Seal
vs. (Under Seal)
TYLER SAMPSON,
Defendant.

 

 

 

The United States of America, by and through Christopher Chiou, Acting United States
Attorney, and Bianca R. Pucci, Assistant United States Attorney, respectfully move this
Honorable Court for an Order sealing the Complaint, Probable Cause Affidavit, Arrest
Warrant, AO257, this Application, and the Court’s Sealing Order, in the above-captioned
matter, until such time as this Honorable Court, or another Court of competent jurisdiction,
shall order otherwise.

Pursuant to LR IA 10-5, the Government requests that the accompanying Complaint in
this case be filed under seal. See generally, Fed. R. Crim. P. 6(e)(4) (permitting for the sealing of
an indictment); State of Arizona v. Maypenny, 672 F.2d 761, 765 (9th Cir. 1982) (supporting the
sealing of a search warrant when there is reasonable cause to believe that providing immediate

notification may have adverse results); Matter of Sealed Affidavit(s) to Search Warrants,

 
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600 F.2d 1256 (9th Cir. 1979) (same); Jn re Braughton, 520 F.2d 765, 766 (9th Cir. 1975) (same).
In this case, such an order would be appropriate because the Complaint and Affidavit relate to
an ongoing criminal investigation into violation(s) of 18 U.S.C. § 922(g)(1), § 924(a)(2)(a), and
§ 2252(a)(5)(B) and (b)(2), that is neither public nor known to all of the targets of the
investigation and its disclosure may alert the targets to the ongoing investigation and pending
arrest warrant. Public disclosure of the information in the Complaint might possibly jeopardize
the investigation because Defendant Tyler Sampson is not yet in custody. Although Sampson is
generally aware of the investigation and has spoken with investigators, he is unaware federal
charges are being sought against him. If he were to learn of the charges via an unsealed
Complaint, he may take evasive measures or destroy potential evidence, or both. Defendant
Sampson’s knowledge that an arrest warrant has been issued against him may also increase
risks to law enforcement in apprehending him. Accordingly, there is reason to believe that
disclosure of the information will jeopardize the investigation, including by giving Sampson an
opportunity to flee, destroy or tamper with evidence, change patterns of behavior, or notify
confederates.

DATED this 22nd day of September, 2021.

Respectfully submitted,

CHRISTOPHER CHIOU
Acting United States Attorney

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BIANCAR PUCCI
Assistant United States Attorney

 
